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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA

V.                                                    2:18CR34

PAULA PADGETT


                                PLEA AGREEMENT


        Defendant Paula Padgett, represented by her counsel, John J. Ossick, Jr., and

the United States of America, represented by Assistant United States Attorney J.

Thomas Clarkson, have reached a plea agreement in this case. The terms and

conditions of that agreement are as follows.

1.      Guilty Plea

        Defendant, having been advised of the right to be charged by Indictment,

agrees to waive that right and enter a plea of guilty to Count One of the Information,

which charges a violation of 42 U.S.C. § 1320a-7b(a)(2).

2.      Elements and Factual Basis


        The elements necessary to prove the offense charged in Count One is:

     a) The defendant made a materially false statement or representation;

     b) For use in determining rights to federal health care benefit and payment; and

     c) The defendant did so knowingly and willfully.

        Defendant agrees that she is, in fact, guilty of this offense. She agrees to the

accuracy of the following facts, which satisfy each of the offenses' required elements:
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       From 2013 through 2017, in the Southern District of Georgia, the defendant

Padgett, a person who did not personally furnish the federal health care program

services in question, did knowingly and willfully make false statement or

representation of a material fact for use in determining rights to federal health care

benefits and payments.

       Specifically, Padgett submitted, and caused to be submitted, fictitious, and

fraudulent statement and representations in "Medical Travel Refund Requests" to

the United States Department of Labor, Office of Workers' Compensation Programs,

seeking reimbursement for expenses incurred for mileage relating to the treatment

and care of C.P., when in truth and fact, as Defendant PADGETT well knew, the

expenses had not, in fact, been incurred because the trips as represented either did

not occur at all or consisted of materially shorter distances of travel.

3.     Possible Sentence


       Defendant's guilty plea to a violation of 42 U.S.C.§ 1320a-7b(a)(2) will subject

her to the following maximum possible sentence: 1 year imprisonment, 1 year

supervised release, and a $100,000 fine. The Court additionally must impose a $100

special assessment.

4.     No Promised Sentence


       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a
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sentence up to the statutory maximum. Defendant will not be allowed to withdraw

her plea of guilty if she receives a more severe sentence than she expects.

5.     Court's Use of Sentencing Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on ^ of Defendant's relevant conduct, pursuant to U.S.S.G.

§ IB1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.    Use of Information

       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S.Probation Office for use in calculating the

applicable Sentencing Guidelines range. Any incriminating information provided by

the defendant during her cooperation will not be used in determining the applicable

Guidelines range, pursuant to Section IB1.8 of the Sentencing Guidelines.

       b.    Acceptance of Responsibilitv

       The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of
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responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3E 1.1(b) of the Sentencing Guidelines based on Defendant's timely notification of her

intention to enter a guilty plea.

       c.    Amount of Loss

       The government and Defendant agree to recommend to the U.S. Probation

Office and the Court at sentencing that the amount of loss, for purposes of Section

2B1.1 of the Sentencing Guidelines, is $21,000.

7.     Financial Obligations and Agreements

       a.    Restitution


       As of the date of the signatures below. Defendant has paid restitution in full.

       b.    Special Assessment


       Defendant agrees to pay a special assessment in the amount of $100.00,

payable to the Clerk of the United States District Court, which shall be due

immediately at the time of sentencing.

       c.    Reouired Financial Disclosures

       By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all her assets and financial interests, whether held

directly or indirectly, solely or jointly, in her name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and
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provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes


the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination

        Defendant will submit to an examination under oath on the issue of her

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea,

        e.    No Transfer of Assets

        Defendant certifies that she has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that she will make no such transfers in the future.



        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.
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       g.    Enforcement

       Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obfigations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

8.     Waivers


       a.    Waiver of Anneal


       Defendant entirely waives her right to a direct appeal of her conviction and

sentence on any ground. The only exceptions are that the Defendant may file a direct

appeal of her sentence if (1) the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs her

attorney not to file an appeal.

       b.    Waiver of Collateral Attack


       Defendant entirely waives her right to collaterally attack her conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack her

conviction and sentence based on a claim of ineffective assistance of counsel.



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       c.    FOIA and Privacy Act Waiver

       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

       d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or her plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

9.     Defendant's Rights


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which she will waive by pleading guilty,

including: the right to be charged by Indictment; the right to plead not guilty, or

having already so pleaded, to persist in that plea; the right to a jury trial; and the

right at trial to confront and cross-examine adverse witnesses, to be protected from
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compelled self-incrimination, to testify and present evidence, and to compel the
attendance of witnesses.

10.     Satisfaction with Counsel

        Defendant has had the benefit of legal counsel in negotiating this agreement.
Defendant believes that her attorney has represented her faithfully, skillfully, and
diligently, and she is completely satisfied with the legal advice given and the work
performed by her attorney.

11.     Breach of Plea Agreement

        If Defendant fails to plead guilty, withdraws or attempts to withdraw her
guilty plea, commits any new criminal conduct following the execution of this
agreement, or otherwise breaches this agreement, the government is released from

all of its agreements regarding Defendant's sentence, including any agreements
regarding the calculation ofDefendant's advisory Sentencing Guidelines. In addition,
the government may declare the plea agreement null and void, reinstate any counts
that may have been dismissed pursuant to the plea agreement, and/or file new
charges against Defendant that might otherwise be barred by this plea agreement.
Defendant waives any statute-of-limitations or speedy trial defense to prosecutions
reinstated or commenced under this paragraph.

12.    Entire Asfreement
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     This agreement contains the entire agreement between the government and

Defendant.




                  BOBBY L. CHRISTINE
                   UNITED STATES ATTORNEY




                   BoHby L. g^jristine
                   United^ates A




                   Brian T. Rafferty
                   Assistant United States Attorney
                   Chief, Criminal Division




                     Thomas Clarkson
                   Assistant United States Attorney
                   Lead Counsel
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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



It                                          QaaJ.M.^ ikr
Daxe   '                                Paula Padgett, Defenda


       I have fully explained to Defendant all of her rights, and I have carefully

reviewed each and every part of this agreement with her. I believe that she fully and

completely understands it, and that her decision to enter into this agreement is an

informed, intelligent, and voluntary one.



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Da                                      J/mn J. Ossick, Jr., Defendlsmt's Attorney




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
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PAULA PADGETT


                                     ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change her plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted
and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This       day of                       2018.

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                                          IITED STATES DISTRICT COURT
                                        :rn district of Georgia
